                            1   Robert A. Julian (SBN 88469)
                                Cecily A. Dumas (SBN 111449)
                            2   BAKER & HOSTETLER LLP
                                1160 Battery Street, Suite 100
                            3   San Francisco, CA 94111
                                Telephone:     628.208.6434
                            4   Facsimile:     310.820.8859
                                Email: rjulian@bakerlaw.com
                            5   Email: cdumas@bakerlaw.com
                            6   Eric E. Sagerman (SBN 155496)
                                Lauren T. Attard (SBN 320898)
                            7   BAKER & HOSTETLER LLP
                                11601 Wilshire Boulevard, Suite 1400
                            8   Los Angeles, CA 90025
                                Telephone:    310.820.8800
                            9   Facsimile:    310.820.8859
                                Email: esagerman@bakerlaw.com
                           10   Email: lattard@bakerlaw.com
                           11   Counsel for Official Committee of Tort Claimants
B AKER & H OSTETLER LLP




                           12                            UNITED STATES BANKRUPTCY COURT
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                                                         NORTHERN DISTRICT OF CALIFORNIA
                           13                                 SAN FRANCISCO DIVISION
                           14   In re:                                             Bankruptcy Case
                                                                                   No. 19-30088 (DM)
                           15   PG&E CORPORATION
                                                                                   Chapter 11
                           16            -and-                                     (Lead Case)
                                                                                   (Jointly Administered)
                           17   PACIFIC GAS AND ELECTRIC
                                COMPANY,
                           18                       Debtors.                       NOTICE OF HEARING ON
                                                                                   APPLICATION OF THE OFFICIAL
                           19   □ Affects PG&E Corporation                         COMMITTEE OF TORT CLAIMANTS
                                                                                   PURSUANT TO 11 U.S.C. § 1103 AND
                           20   □ Affects Pacific Gas and Electric Company         FED. R. BANKR. P. 2014 AND 5002 TO
                                                                                   RETAIN AND EMPLOY TRIDENT
                           21   ■ Affects both Debtors                             DMG LLC AS COMMUNICATIONS
                                                                                   CONSULTANT EFFECTIVE AS OF
                           22   *All papers shall be filed in the Lead Case,       JULY 18, 2019
                                No. 19-30088 (DM)
                           23                                                      Date:    August 27, 2019
                                                                                   Time:    9:30 a.m. (Pacific Time)
                           24                                                      Place:   United States Bankruptcy Court
                                                                                            Courtroom 17, 16th Floor
                           25                                                               San Francisco, CA 94102
                                                                                   Objection Deadline: August 20, 2019
                           26

                           27          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
                                Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession
                           28   (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a


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                            1   voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                                Code”) with the United States Bankruptcy Court for the Northern District of California (San
                            2   Francisco Division) (the “Bankruptcy Court”).
                            3         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
                                August 27, 2019 at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
                            4   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450
                                Golden Gate Avenue, San Francisco, California 94102.
                            5
                                       PLEASE FURTHER NOTICE that, in addition to any other matters scheduled for the
                            6   Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Application of the Official
                                Committee of Tort Claimants Pursuant to 11 U.S.C. § 1103 and Fed. R. Bankr. P. 2014 and 5002
                            7   to Retain and Employ Trident DMG LLC as Communications Consultant Effective as of July 18,
                                2019 (the “Application”) filed on July 27, 2019.
                            8
                                        PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the
                            9   Application must be in writing, filed with the Bankruptcy Court, and served on the counsel for the
                                Official Committee of Tort Claimants at the above-referenced addresses so as to be received by no
                           10   later than 4:00 p.m. (Pacific Time) on August 20, 2019. Any oppositions or responses must be
                                filed and served on all “Standard Parties” as defined in, and in accordance with, the Second
                           11   Amended Order Implementing Certain Notice and Case Management Procedures entered on May
                                14, 2019 (EFC No. 1996) (“Case Management Order”). Any relief requested in the
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                           12   Application may be granted without a hearing if no opposition is timely filed and served in
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                                accordance with the Case Management Order. In deciding the Application, the Court may
                           13   consider any other document filed in these Chapter 11 Cases and related adversary proceedings.
                           14           PLEASE TAKE FURTHER NOTICE that copies of the Application and its supporting
                                papers can be viewed and/or obtained:              (i) by accessing the Court’s website at
                           15   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
                                Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
                           16   Clerk LLC, at http://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
                                U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:
                           17   pginfo@primeclerk.com. Note that a PACER password is needed to access documents on the
                                Bankruptcy Court’s website.
                           18
                                Dated: July 27, 2019
                           19                                                        BAKER & HOSTETLER LLP
                           20                                                        By:     /s/ Cecily A. Dumas
                                                                                             Cecily A. Dumas
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